                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DIVISION

                                            NO. 7:07-CR-42-FL-4
                                             NO. 7:09-CV-21-FL

HOWARD LEE DELTS, JR.,            )
   Petitioner,                    )
                                  )
      v.                          )                                       MEMORANDUM AND
                                  )                                       RECOMMENDATION
UNITED STATES OF AMERICA,         )
      Respondent.                 )
_________________________________ )

         This matter comes before the court upon the government’s motion for summary

judgment1 [DE-418] pro se petitioner’s motion under 28 U.S.C. § 2255 to vacate, set aside,

or correct sentence by a person in federal custody (“motion to vacate”) [DE-409]. Petitioner

has not responded and the time for doing so has passed. Accordingly, the government’s

motion is now ripe for adjudication. Pursuant to 28 U.S.C. § 636(b)(1) this matter is before

the undersigned for the entry of a memorandum and recommendation. For the following

reasons, it is HEREBY RECOMMENDED that the government’s motion for summary

judgment [DE-418] be GRANTED and petitioner’s motion to vacate [DE-409] be DENIED.

I. Background

         Petitioner was charged in an indictment on March 28, 2007 with conspiracy to



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          The government styles its motion as a motion to dismiss or in the alternative a motion for summary
judgment. Because both parties have attached affidavits, the court will treat this motion as a motion for summary
judgment. See Fed. R. Civ. P 12(d) “[i]f on a motion . . . [to dismiss] . . . matters outside the pleading are presented
to and not excluded by the court, the motion must be treated as one for summary judgment.”

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distribute and possess with the intent to distribute more than 5 kilograms of cocaine [DE-10].

On September 12, 2007, petitioner pled guilty to conspiracy to distribute and possess with

the intent to distribute more than 5 kilograms of cocaine in violation of 21 U.S.C. § 846.

This guilty plea was memorialized in a plea agreement filed and approved by this court [DE-

181]. Petitioner was sentenced on February 11, 2008 to a total of 176 months imprisonment

and 5 years supervised release [DE-305].                     Petitioner did not file a direct appeal.

Accordingly, petitioner’s conviction became final on February 11, 2008. U.S. v. Sanders,

247 F.3d 139, 142 (4th Cir. 2001) (“[The] conviction became final on the date upon which

[petitioner] declined to pursue further direct appellate review.”).

        Finally, petitioner filed the instant motion to vacate on February 12, 2009 [DE-409].2

II. Legal Standards and Analysis

A. Summary judgment

Under Rule 56 of the Federal Rules of Civil Procedure, summary judgment shall be granted:

                 against a party who fails to make a showing sufficient to establish the
                 existence of an element essential to that party's case, and on which that
                 party will bear the burden of proof at trial . . . since a complete failure
                 of proof concerning an essential element of the nonmoving party's case
                 necessarily renders all other facts immaterial.
                 Celotex Corporation v. Catrett, 477 U.S.317, 322-323 (1986)

        “[S]ummary judgment is appropriate when there exists no genuine issue of material

fact and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c);


        2
          The envelope used by petitioner to mail his motion to vacate is stamped as “processed through special
mailing procedures” by the institution where he is incarcerated, and is postmarked February 12, 2009 [DE-409-3].
The clerk’s office received petitioner’s motion to vacate on February 17, 2009 [DE-409-3].

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Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986). The party seeking summary

judgment bears the burden of initially coming forward and demonstrating the absence of a

genuine issue of material fact. Celotex, 477 U.S. at 317; Ross v. Communications Satellite

Corp., 759 F.2d 355, 364 (4th Cir. 1985). Specifically, the moving party bears the burden

of identifying those portions of "the pleadings, depositions, answers to interrogatories, and

admissions on file, together with the affidavits" that the moving party believes demonstrate

an absence of any genuine issues of material fact. Celotex, 477 U.S. at 323. Once the

moving party has met its burden, the non-moving party must then affirmatively demonstrate

that there is a genuine issue which requires trial. Matsushita Electrical Industrial Co., Ltd.

v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). As a general rule, the non-movant must

respond to a motion for summary judgment with affidavits, or other verified evidence, rather

than relying on his complaint or other pleadings. Celotex, 477 U.S. at 324. See also,

Williams v. Griffin, 952 F.2d 820, 823 (4th Cir. 1991).

       In the summary judgment determination, the facts and all reasonable inferences must

be viewed in the light most favorable to the non-movant. Anderson, 477 U.S. at 255. It is

well-established that any analysis of the propriety of summary judgment must focus on both

the materiality and genuineness of the fact issues. Ross, 759 F.2d at 364. The mere

existence of some alleged factual dispute between the parties will not defeat a motion for

summary judgment. Anderson, 477 U.S. at 247-48. A fact is material only when its

resolution affects the outcome of the case. Id. at 248. A dispute about a material fact is

genuine if the evidence is such that a reasonable jury could return a verdict for the

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nonmoving party. Id.

B. 28 U.S.C. § 2255

       Title 28 U.S.C. § 2255 requires the petitioner to prove by a preponderance of the

evidence that his “sentence was imposed in violation of the Constitution or laws of the

United States, or that the court was without jurisdiction to impose such sentence, or that the

sentence was in excess of the maximum authorized by law . . . .” 28 U.S.C. § 2255(a).

Claims under 28 U.S.C. § 2255 are subject to a one-year statute of limitations. 28 U.S.C. §

2255(f). This limitation period runs from the latest of

       (1) the date on which the judgment of conviction becomes final;

       (2) the date on which the impediment to making a motion created by
       governmental action in violation of the Constitution or laws of the United
       States is removed, if the movant was prevented from making a motion by such
       governmental action;

       (3) the date on which the right asserted was initially recognized by the
       Supreme Court, if that right has been newly recognized by the Supreme Court
       and made retroactively applicable to cases on collateral review; or

       (4) the date on which the facts supporting the claim or claims presented could
       have been discovered through the exercise of due diligence.

       28 U.S.C. §2255(f)(1-4).

       In the instant, the latest applicable date is the date on which the judgment of

conviction became final. Petitioner’s conviction became final on February 11, 2008 and thus

he had until February 11, 2009 to file a timely motion to vacate pursuant to 28 U.S.C. § 2255.




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However, petitioner’s motion to vacate was not filed until February 12, 2009.3 See Rule 3(d)

of the Rules Governing Section 2255 Proceedings for the United States District Courts (“A

paper filed by an inmate confined in an institution is timely if deposited in the institution’s

internal mailing system on or before the last day for filing . . . .”). Thus, petitioner’s motion

to vacate is untimely on its face and must be denied unless it is eligible for equitable tolling.

         The doctrine of equitable tolling generally is appropriate in two distinct situations -

(1) where the petitioner was prevented from asserting his claims by some wrongful conduct

on the part of the respondent; or (2) where extraordinary circumstances beyond the

petitioner’s control made it impossible to file his claims on time. Harris v. Hutchinson, 209

F.3d 325, 330 (4th Cir. 2000). “[A]ny invocation of equity to relieve the strict application

of a statute of limitations must be guarded and infrequent, lest circumstances of

individualized hardship supplant the rules of clearly drafted statutes.” Id. Further, “any

resort to equity must be reserved for those rare instances where–due to circumstances

external to the party’s own conduct–it would be unconscionable to enforce the limitation

period against the party and gross injustice would result.” Id. Moreover, a litigant seeking

equitable tolling also bears the burden of establishing that he has been diligently pursuing his

claims. See Pace v. DiGuglielmo, 544 U.S. 408, 418 (2005).

         Here, petitioner fails to assert any facts which would indicate that equitable tolling is


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            The undersigned notes that in paragraphs 2a and 2b of the motion to vacate petitioner listed the date of the
judgment of conviction and date of sentencing as February 11, 2008 [DE-409], p. 1. In paragraph 18 petitioner
listed the date of sentencing as February 12, 2008, [DE-409], p. 10, and petitioner signed the motion to vacate using
the date of February 11, 2008 [DE-409], p. 11. The docket shows that the date of the judgment of conviction did in
fact occur on February 11, 2008 [DE-305].

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appropriate in this matter. Petitioner submits to the court a memorandum for inmate

population, dated February 5, 2009, which memorializes an institution lock-down [DE-409-

2]. The lock-down followed an incident that occurred on February 3, 2009 [DE-409-2].

However, Petitioner does not provide details as to the length of the lock-down. Notably, in

an unpublished opinion the Fourth Circuit has held that equitable tolling did not apply when

a petitioner lacked access to his legal materials due to his transfer among several correctional

facilities. United States v. Anderson, 2000 WL 1781614, * 1 (4th Cir. 2000)(unpublished

opinion). Likewise, the fact that a prison was on lock-down, preventing access to the prison

law library, does not establish extraordinary circumstances justifying equitable tolling. See,

Davis v. United States, 2002 WL 32656623, * 2 (E.D.N.C. 2002), quoting United States ex

rel. Ford v. Page, 132 F. Supp.2d 1112, 1115-1116 (N.D.Ill. 2001). Similarly, Petitioner has

failed to establish that he was diligently pursuing his claim prior to the lock-down. Finally,

petitioner was well aware of his one-year limitation period as evidenced by his request for

an extension of time in December 2008 [DE-398].4

         Accordingly, the undersigned RECOMMENDS that petitioner’s motion to vacate be

denied on the grounds that it is time-barred.

Conclusion

         For the aforementioned reasons, it is HEREBY RECOMMENDED that the

government’s motion for summary judgment [DE-418] be GRANTED and that petitioner’s

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          The court denied petitioner’s request for a 60 day extension of time to May 11, 2008 [DE-406], p.1.,
finding neither “the text of § 2255 [nor] relevant case law permit[ted] the court to extend the one-year statute of
limitations which applies to . . .   § 2255 motions.”

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motion to vacate [DE-409] be DENIED.

      SO RECOMMENDED in Chambers at Raleigh, North Carolina this 11th day of

January, 2010.




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                                               William A. Webb
                                               U.S. Magistrate Judge




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